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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK
____________________________________
Annamarie Trombetta,                )
                                    )
                                    )
                      Plaintiff,    )
                                    )               Civil Action No:
                                    )               18-cv-00993 (LTS) (SLC)
      v.                            )
                                    )
Norb Novocin, et al.,               )
                                    )
                                    )
                      Defendants.   )
____________________________________)


DEFENDANT WORTHPOINT CORPORATION’S REPLY MEMORANDUM OF LAW
    IN FURTHER SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT


                                     Respectfully submitted,

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                                       PRELIMINARY STATEMENT

         Plaintiff’s Opposition1 fails to address WorthPoint’s bases for summary judgment, instead

opting to raise irrelevant issues and anecdotes,2 cite to unsupported and inaccurate “facts” and

discuss claims that are not in issue. Plaintiff asserts in her Opposition to WorthPoint’s motion for

summary judgment that the “crux of Plaintiff’s response” is to “set forth conclusive proof of

Defendants’ WorthPoint Corp.’s liability for violations of Copyright infringement […], The Visual

Artists Rights Act […], for violation of the DMCA 17 U.S.C. 1202(a) removing or altering

copyright management information under 17 U.S.C. 1202(b) falsifying copyright management

information, Fraud (Rule 9), Intentional Infliction of Emotional Distress, Tort3, CPLR 213(2) and

the request for Declaratory and Permanent Injunctive Relief, as well as finding Defendants’

conduct was willful.” Docket Entry (or “DE”) 496 at 4. As discussed herein, not only does Plaintiff

fail to present a triable issue of fact (let alone “conclusive proof”) of WorthPoint’s liability for

Plaintiff’s claims, she also fails to address the defenses WorthPoint has raised that bar her recovery

in its entirety. As such, WorthPoint’s motion must be granted.

         Plaintiff spends the first 22 pages of her Memorandum in Opposition (“Opposition”) on an

“introduction” and “summary”, raising various extraneous issues that have nothing to do with the

claims asserted or defenses raised. For example, Plaintiff discusses that her childhood signature is

different from the one that appears on the oil painting titled “Man with Red Umbrella” (the

“Painting”), which co-defendant Novocin attributed to Plaintiff. This is despite WorthPoint


1
  Plaintiff titles her Opposition as a “Response” (hereinafter “Opposition”) perhaps because she fails to sufficiently
address Defendant’s defenses that bar recovery, instead opting to once again try to tell her story, i.e. that the painting
sold by the EAI/Novocins Defendants was not painted by her and should not have been attributed to her in the ad
posted on eBay by EAI/Novocins. WorthPoint has never had knowledge as to who painted the subject painting, and
was not responsible for making such a claim. WorthPoint merely reported the auction result as posted on eBay.
2
  For example, Plaintiff continues to address the Defendants’ comments on Plaintiff’s February 2022 settlement 20+
page demand letter, that Defendants could not interpret. This is irrelevant and not appropriate to be raised here.
3
  The “tort” claim is not actually addressed in the Opposition. Nor was it plead in the Second Amended Complaint,
except as an alternative name to Plaintiff’s Intentional Infliction of Emotional Distress claim. ECF 348-1.

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specifically noting in its opening motions papers that it takes no position on whether Plaintiff

created the Painting. Plaintiff discusses the misspelling of her name on the Painting she claims is

not hers and that WorthPoint has never seen. She complains that none of the Defendants ever

bothered to discover who created the Painting. But, none of that is relevant to this motion.

        WorthPoint did not sell the Painting or attribute it to Plaintiff. WorthPoint has never seen

the Painting, never had possession of it, and had no role in advertising it for sale. WorthPoint is an

online research resource for valuing art and other collectables, and its Price Guide features over

720 million items and over a billion photographs from historical records dating back to 2006. In

2012, co-defendant Novocin, owner of Estate Auctions, Inc. (“EAI”), sold the Panting on eBay.

Mr. Novocin admits that he, alone, composed the Painting’s eBay listing (hereinafter, “Auction

Listing”). Mr. Novocin attributed the Painting to Plaintiff based on his research of artists with the

name “Trombetta” on the Ask Art website and copied her biography from Ask Art (hereinafter,

“Biography”) to include in his Auction Listing.

         Between 2012 and 2015, eBay made the Auction Listing, among millions of others,

available to WorthPoint for automatic download and publishing in its Worthopedia as a report of

an auction sale. (WorthPoint’s post of the historic Auction Listing is hereinafter referred to as the

“WP Report”). On February 4, 2016, after Plaintiff asked WorthPoint in early 2016 to remove the

WP Report from the database, WorthPoint complied. The WP Report was never reposted, as

evidenced by the server code and Google Analytics records that WorthPoint produced, and as

supported by the findings of WorthPoint’s expert Stricchiola.

         Plaintiff’s Opposition also spends a considerable time discussing what she believes are

Defendant’s insufficient discovery responses. In particular, Plaintiff is challenging some of the

objections that WorthPoint raised in discovery and is again bringing up the issue of a supposedly-



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inauthentic eBay confirmation of sale that the Novocin Defendants produced (this in fact has

nothing to do with WorthPoint as it did not participate in the eBay sale). However, this is a red

herring. All discovery issues have long been resolved by the Court, and discussion of the merits

of the objections or whether WorthPoint should have produced documents it expressly stated it did

not have is irrelevant at this stage. DE 340, 361, 364, 367, 375, 384, 387 and 509

        Plaintiff furthermore continues to accuse WorthPoint and its counsel, as well as any

attorney who ever appeared in this case, of impropriety, intimidation, deception and fraud. With

over 500 docket filings in this matter, this is not the first time Plaintiff is bringing up these

unsubstantiated allegations either. However, during the course of the three years since WorthPoint

has been brought into this litigation, not once has either Judge Abrams or Magistrate Judge Cave

found any impropriety on the part of WorthPoint or its counsel, despite Plaintiff’s constant

accusations and personal attacks. All such conduct is denied, and is irrelevant to the claims here.

        None of these issues in the first 22 pages of the Opposition are dispositive of WorthPoint’s

pending motion. What is dispositive is that Plaintiff admits that she first discovered the WorthPoint

Report in August 2015 and she has no competent proof that this report was ever reposted.

Plaintiff’s Amended Complaint impleaded WorthPoint for the first time on February 21, 2020. As

such, Plaintiff’s claims sounding in copyright infringement (for her Biography), Digital

Millennium Copyright Act violations (again, with respect to her Biography), and Visual Artists

Rights Act misattribution (with respect to the Painting) are all long since time-barred. Plaintiff’s

Opposition does not offer any evidence to the Contrary, and none exists.

        Plaintiff furthermore attempted to reassert in her Second Amended Complaint the claims

that were previously dismissed by the court and for which she did not receive leave to replead.

This Court previously dismissed with prejudice Plaintiff’s claims for violations of the Lanham



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Act, New York Artist’s Authorship Rights Act, New York Civil Rights Act, and Declaratory

Relief. See DE 23. In her Opposition, Plaintiff is quiet about these meritless claims, apparently

abandoning them. These claims must therefore be dismissed again.

        Plaintiff inappropriately attempts to expand what is considered the operative Second

Amended Complaint (“SAC”), citing DE 348 as if that document was the SAC. However, while

Plaintiff has filed multiple motions to amend and multiple versions of the proposed Second

Amended Complaint, the Court deemed DE 348-1 “the governing pleading of this action.” See DE

366. WorthPoint has relied on DE 366 and has confined its motion solely to the SAC (DE 348-1).

The SAC cannot be a moving target and Plaintiff should not be permitted to reference one of her

80-page motions to amend as supposedly being part of the SAC.

        With respect to the remaining causes of action sounding in fraud, intentional infliction of

emotional distress, “tort”, declaratory and permanent injunctive relief, the Opposition still fails to

either particularize these claims or to assert a prima facie case, let alone present a supportable

claim for such relief. In sum, the SAC against WorthPoint must be dismissed in its entirety.

                                           ARGUMENT

    POINT I. PRO SE PLAINTIFF IS NOT EXEMPT FROM MEETING THE LEGAL
               BURDEN ON A MOTION FOR SUMMARY JUDGMENT

        Every nonmoving party opposing a motion for summary judgment must come forward with

“specific facts showing that there is a genuine issue for trial.” Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986) (emphasis omitted)

(citing Fed. R. Civ. P. 56(e)). “[P]ro se plaintiffs cannot overcome a motion for summary

judgment by simply making ’bald’ assertions that are unsupported by the evidence.” Hawkins v.

New York State Office of Mental Health, 2019 U.S. Dist. LEXIS 160252, *18 (S.D.N.Y. 2019).

“Instead, the pro se litigant must point to specific evidence in the record to carry its burden on


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summary judgment.” Feuer v. Cornerstone Hotels Corp., 2017 U.S. Dist. LEXIS 124433, *23

(E.D.N.Y. 2017).


        Plaintiff’s Opposition to WorthPoint’s motion is replete with unsubstantiated bald

assertions and unrelated matter that has no bearing on the claims or defenses. For example, Plaintiff

relies on statements from Alex Raspa, a witness that Plaintiff withdrew after WorthPoint sought

to conduct his deposition. See accompanying Declaration of Jana Farmer and Exhibit A thereto.

Any purported statements from an undisclosed witness must be stricken. See, e.g., Haas v.

Delaware & Hudson Ry. Co., 282 Fed.App'x 84, 86 (2d Cir. 2008) (affirming striking of affidavit

in opposition to motion for summary judgment from previously undisclosed witness).

Furthermore, to the extent that Plaintiff is attempting to rely on the untimely-disclosed testimony

of her purported experts, WorthPoint notes that Judge Sarah Cave has already precluded the

untimely and insufficient disclosures of Plaintiff’s purported experts, Dr. Sclesa and Ms.

Skluzacek. See DE 509. As such, Plaintiff may not introduce this evidence either at trial nor on

summary judgment.


        In addition, while Plaintiff had disclosed an “expert” Affidavit of Patrick O’Leary prior to

the expert disclosure deadline, she has since tried to submit additional, untimely disclosures of his

opinions, also in contravention of Magistrate Judge Cave’s orders. A motion in limine to exclude

untimely and extraneous O’Leary testimony is pending before the Court. DE 403-405. WorthPoint

respectfully submits that Plaintiff should not be permitted to rely on any of Mr. O’Leary’s untimely

disclosed opinions on this motion, because none of Mr. O’Leary’s opinions as against WorthPoint

were timely disclosed. WorthPoint adopts and incorporates by reference its arguments in the




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pending motion in limine as they pertain to Mr. O’Leary’s testimony being offered in opposition

to this motion.


        Otherwise, Plaintiff has failed to produce any competent evidence to rebut any of

WorthPoint’s positions, and dismissal is warranted based on the lack of any evidentiary support.

Plaintiff herein fails in her burden to raise any issues of material fact to defeat WorthPoint’s

motion. As such, her Complaint must be dismissed in its entirety as against WorthPoint.

    POINT II. PLAINTIFF’S COPYRIGHT INFRINGEMENT CLAIMS ARE TIME-
    BARRED

        WorthPoint demonstrated Plaintiff was aware of the WP Report as early as August 2015.

Plaintiff does not dispute this fact. See Opposition at 4-6. Yet, Plaintiff did not bring a claim against

WorthPoint until February 21, 2020, four and a half years later.

        In her Opposition, Plaintiff attempts to change the allegations in her SAC. In her SAC, she

alleged that the same WP Report continuously remained on WorthPoint’s website. See DE 348-1,

P. 12, ¶ 10 (“the false post was still under my name”), Id. at P.13, ¶ 14 (“around December 2016 I

found that the same 1972, entitled “Man with a Red Umbrella” and related posted were on the

internet under my name”). Id. at P.18, ¶ 2 under “SUMMARY” (“THE POSTING WAS UP

SINCE DECEMBER 2012- UNTIL DECEMBER 2016.”). The Opposition now argues, without

support, that WorthPoint removed and then reposted the WP Report, making a conclusory assertion

in order to avoid the statute of limitations defense and the consequences of her delay in bringing

the claim. Any attempts to amend the allegations of the Complaint after two amendments were

granted and after Plaintiff’s multiple motions to amend were denied, are not appropriate to allow

Plaintiff to amend her allegations in an opposition to a motion for summary judgment.




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        Moreover, Plaintiff offers no evidence that WP Report was reposted as opposed to the same

post remaining on WorthPoint’s website4. Plaintiff’s only evidence of reposting are her printouts

from Google and a copy of the WP Report (Plaintiff’s Exhibit 26) with printer dates in March-

May 2017. However, neither Plaintiff nor any of her witnesses can definitively confirm that the

post was removed and reposted, and the printer date does not prove that a post was removed or

posted again.

        Plaintiff herself cannot verify that the post remained live after it was removed. When

questioned at her deposition, Plaintiff merely alleged that, on March 15, 2017, she searched on

Google for 1972 Original Oil Painting Man with Red Umbrella Signed and a search result reported

this title in connection with a link pointing to WorthPoint’s website. See DE 425-1, pp. 269-270.

Plaintiff could not recall whether she clicked through to access WorthPoint’s website on that day

and does not know what the page would have contained. Id. Rather, she responded, “I cannot

respond with certainty”. Id. Plaintiff therefore has no evidence, not even self-serving testimony,

on which she can rely to establish that the Biography that was in the EAI eBay ad was visible.

Even if Plaintiff claimed she saw the posting, such claim would not verify that the WP Report was

on WorthPoint’s site after it had been removed. Google caches results, so if Plaintiff had seen the

WP Report (which she conceded she cannot verify), the post could have been a remnant in

Google’s cache, not from WorthPoint’s site.

        As explained in the report of Jessie Stricchiola, submitted with WorthPoint’s initial moving

papers, the printer date on a printout of the page does not necessarily mean that this page appeared

on WorthPoint’s website at that time. See DE 425-5, Stricchiola Report, p. 13, at ¶23. Without



4
  WorthPoint maintains that the WP Report was removed on February 4, 2016 and never reposted, and has produced
significant irrefutable evidence to support this claim.

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additional evidence, which Plaintiff has failed to produce, the timestamp is not a reliable indicator

because it can be incorrect and/or manipulated. Id.

        Plaintiff cites Psihoyos v. John Wiley & Sons, 748 F.3d 120, 125 (2nd Cir. 2014), apparently

in support of her statute of limitations argument. However, in Psihoyos, the Court determined that

the applicable three-year statute of limitations barred none of Psihoyos's infringement claims

because Psihoyos, exercising reasonable diligence, did not discover the infringements until fewer

than three years prior to bringing suit; the Second Ciruit affirmed. By contrast, here, Plaintiff

admits that she was aware of WorthPoint’s Report back in August 2015 (Opposition at 4-6), and

the discovery rule is not applicable to revive her late-filed claims.

        Plaintiff also cites Psihoyos for the proposition that statutory damages for copyright

infringement may be awarded even when, as here, plaintiff’s copyright registration occurs after

the alleged infringement. See Opposition at p. 23. While this is outside the scope of WorthPoint’s

motion and statute of limitations argument, Plaintiff is misinterpreting Psihoyos on this issue as

well. Psihoyos involved eight photographs and “Psihoyos had failed to register the two

Narcoleptic Dog photos and the Dinamation photo with the Copyright Office prior to filing suit.”

Psihoyos, 748 F.3d at 123. To the extent damages for willful infringement were awarded, they

were for the different “Oviraptor and Triceratops photos” (see id.). In fact, the Second Circuit

affirmed the District Court's grant of summary judgment dismissing Psihoyos's claims relating to

the Narcoleptic Dog and Dinamation photos. Psihoyos, 748 F.3d at 126. Thus, this decision would

not support Plaintiff’s argument that statutory damages may be awarded if a registration post-dates

the alleged infringement. Again, this is a misdirection and refers to irrelevant claims.

        In summary, the statute of limitations on Plaintiff’s copyright claims expired in August of

2018. Even if the statute of limitations was measured from the date the post last appeared online



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(which is not the standard), Plaintiff’s claims would have been barred by more than one year by

the time she commenced the action against WorthPoint. As such, WorthPoint is entitled to

dismissal as Plaintiff failed to file her Complaint within the applicable statute of limitations period.

POINT III. PLAINTIFF’S COPYRIGHT INFRINGEMENT CLAIMS ARE BARRED BY
THE DMCA §512(c) SAFE HARBOR DEFENSE

        Even if the statute of limitations did not bar Plaintiff’s claims, her claims would be

substantively barred by the DMCA. Plaintiff argues in her Opposition that WorthPoint does not

qualify for a DMCA Safe Harbor defense because WorthPoint had actual knowledge that the WP

Report infringed Plaintiff’s copyright or in the alternative, was aware of the circumstances from

which it was apparent that the post was infringing. See Opposition at 24. In support of her

argument, Plaintiff cites to her Exhibit 9 (Plaintiff’s November 26, 2015 email inquiry to eBay);

Exhibit 11 (a copy of an Item Review Request dated January 14, 2016, which Plaintiff claims she

submitted to WorthPoint); and her Exhibit 26 (containing a mélange of Plaintiff’s printouts of

several emails, Google search results printed out in the same minute and of what appears to be a

cached version of the WP Report, printed out on different dates in 2017). Each of these Exhibits

post-date Plaintiff’s admitted date of discovery of the WP Report in August 2015. Plaintiff’s

argument, in short, is that WorthPoint knew of the Plaintiff’s copyright claim as to her biography

after Plaintiff contacted WorthPoint. That does not negate the DMCA defense.

        Plaintiff essentially concedes that prior to her contacting WorthPoint, WorthPoint was not

aware that Plaintiff was asserting a copyright claim in her biography and that she maintained that

the WP Report was infringing. In the opening motion papers, WorthPoint demonstrated that it

automatically downloaded the eBay Action listing at the direction of its licensing partner together

with millions of other records of completed eBay sales. See DE 427, Opening Memorandum, at

20; DE 425-7, Declaration of William Seippel, at 13-14. The WP Report was automatically


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generated without any manual review. After Plaintiff discovered the WorthPoint report, she admits

that what she communicated to WorthPoint was that she did not do the Painting, that she inquired

into who bought and who sold the Painting, and was then directed to eBay for the information

about the buyer as WorthPoint did not have that information. See Opposition at 12. This is

consistent with the Declaration of William Seippel, noting that initially Plaintiff only requested

information about the Painting. See DE 425-7, Declaration of William Seippel, at 15.

         Plaintiff claims that on January 14, 2016, she first submitted an Item Review Request,

claiming that the Painting infringed on her Copyright. See Plaintiff’s Exhibit 11 to the Opposition

and Opposition at page 13. Although it is arguable whether Plaintiff even properly complied with

the takedown policy, WorthPoint promptly removed the WP Report from the website on February

4, 2016 and never reposted it. See DE 425-7, Declaration of William Seippel, at 16-17.

         In sum, WorthPoint demonstrated that it did not know of Plaintiff’s claim of copyright

infringement until January 14, 2016 (prior inquiries about the buyer’s identity did not indicate any

copyright infringement); and once WorthPoint learned of the claim, the WP Report was promptly

taken down. As such, WorthPoint satisfied the knowledge requirements of the DMCA Safe Harbor

under 17 U.S.C. §512(c)(A).

         Plaintiff also argues, without support, that WorthPoint was a “paid Member ship [sic] to

view pricing records and receive financial benefit directly attributable to infringing activity” and

as such, it does not qualify for the DMCA Safe Harbor. See Opposition at 24. Plaintiff fails to

dispute, however, that WorthPoint did not derive any financial benefit from the alleged

infringement, as access to the WP Report was available without payment.5 See DE 425-1,



5
  The aspect of the post that was behind a paywall was the price that had been paid, not the alleged infringing
biography. Nevertheless, even that fact was obtainable without paying WorthPoint, as Plaintiff obtained such
information and never paid WorthPoint.

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Plaintiff’s Deposition, at pp. 87, 205, 215. Specifically, Plaintiff testified that she was able to

access the WP Report with her biography without having to pay anything; she subsequently sought

to gain WorthPoint’s membership benefits to see pricing information, but she does not and cannot

maintain copyright in prices paid by others. See also, Opposition at 25, admitting again that

Plaintiff accessed the entire WP Report for free. William Seippel confirms that WorthPoint does

not derive profit directly from any specific entry in WorthPoint’s Price Guide. See DE 425-7, at 7.

        As such, WorthPoint successfully demonstrated that it has met all of the conditions of the

DMCA §512(c) safe harbor, and thus all of Plaintiff’s claims against WorthPoint arising out of the

Copyright Act would fail even if the statute of limitations had not expired.

POINT IV. PLAINTIFF’S CLAIMS OF COPYRIGHT INFRINGEMENT OF HER
BIOGRAPHY ARE BARRED BY THE DOCTRINE OF FAIR USE
        Plaintiff argues that WorthPoint’s use of her biography in the WP Report cannot be fair

use because WorthPoint is a for profit organization and because Plaintiff’s biography is a “creative,

original literary form of self expression.” See Opposition at 25. Plaintiff incorrectly maintains that

only nonprofit organizations may benefit from the fair use doctrine. As the Supreme Court

explained in the recent decision in Warhol v. Goldsmith, it is the nature of the particular use that

is dispositive. “This factor [of the fair use analysis] considers the reasons for, and nature of, the

copier’s use of an original work.” Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 143

S. Ct. 1258, 1274 (2023). Here, WorthPoint did not commercially license or derive profit from

displaying the text on a historic eBay listing. Rather, WorthPoint supplied this historic sale

information for art research free of charge, including in this instance an excerpt from the Biography

because it was part of the original Auction Listing.

        The Supreme Court also noted that even “[t]he commercial nature of the use is not

dispositive”. Warhol, supra, 143 S. Ct. at 1276. Commercial nature of the use it is to be weighed

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against the degree to which the use has a further purpose or different character. Id. , citing

Campbell v. Acuff-Rose Music, Inc., 510 U. S. 569, 579 (1994) (“[T]he more transformative the

new work, the less will be the significance of other factors, like commercialism, that may weigh

against a finding of fair use”).

        Here, WorthPoint’s use transformed the use from commercial purpose (by Novocin, and

even Plaintiff) to non-commercial. The character of the use was transformed as well: whereas

Plaintiff and Mr. Novocin supplied the Biography to give information about the artist, and Mr.

Novocin – in order to sell the Painting, the WP Report simply included it because it was part of

the “Item Description” in the Auction Listing. Had the Biography not been part of the Auction

Listing, WorthPoint would not have used it, as it does not manually edit auction listings which it

reports.

        Plaintiff furthermore conjoins WorthPoint with the other Defendants when she notes that

Norb Novocin admitted to using her biography because he wanted to increase his chances of selling

the Painting. Id. WorthPoint was not selling the Painting and only licensed and reported the record

of a completed eBay sale by Mr. Novocin. None of the items on WorthPoint’s Price Guide database

are for sale, they are historic records of completed sales. See DE 425-7, Seippel Declaration, at 4.

        To the extent that Plaintiff puts forth that literary works are not subject to the fair use

defense, this is also wrong. The Second Circuit held that “[o]ur cases establish that biographies in

general, and critical biographies in particular, fit "comfortably within" these statutory categories

"of uses illustrative of uses that can be fair." New Era Publs. Int'l, ApS v. Carol Publ. Group, 904

F.2d 152, 156 (2nd Cir. 1990) (holding that all four fair use factors favored the defendant). Clearly,

literary works and biographies may be subject to fair use defense.



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        Plaintiff also fails to address the argument that the WP Report could be considered akin to

news reporting, as the posting of the Auction Listing and the information in the Auction Listing

was needed to accurately report what had occurred (even if the original information provided by

the Novocin was arguably false. See Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P., 742 F.3d

17, 28 (2d Cir. 2014)(“Bloomberg’s overriding purpose here was not to “scoop” Swatch or

“supplant the copyright holder’s commercially valuable right of first publication,” but rather

simply to deliver newsworthy financial information to American investors and analysts. That kind

of activity, whose protection lies at the core of the First Amendment, would be crippled if the news

media and similar organizations were limited to authorized sources of information.”)

        In sum, Plaintiff is incorrect that only non-profits or only non-literary works may be subject

to the fair use defense. Plaintiff further fails to address the remainder of WorthPoint’s fair use

arguments and as such, her Opposition is legally insufficient to defeat WorthPoint’s fair use

defense as a matter of law.

POINT V. PLAINTIFF’S CLAIMS UNDER VARA ARE TIME-BARRED

        In her Opposition to WorthPoint’s argument that her claims under the Visual Artists

Rights Act (VARA) are time-barred, Plaintiff simply repeats her unsupported allegations that

WorthPoint “reposted” the WP Report after it was originally removed. For the reasons set forth

above in POINT II, Plaintiff’s VARA claims are time barred by the same three-year statute of

limitations as set forth in the Copyright Act. 17 U.S.C. §507(b); Dos Santos v. Assurant, Inc.,

2022 U.S. Dist. LEXIS 158484, at *19 (S.D.N.Y. Sep. 1, 2022).

POINT VI. EVEN IF VARA CLAIMS WERE NOT TIME-BARRED, WORTHPOINT
DID NOT ATTRIBUTE THE PAINTING TO PLAINTIFF AND NO MONETARY
DAMAGES ARE AVAILABLE TO PLAINTIFF UNDER THE VARA
MISATTRIBUTION CLAIM




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        Plaintiff’s Opposition fails to address WorthPoint’s argument that given that WorthPoint

did not misattribute the Painting to Plaintiff but only passively displayed a report of the

attribution by Mr. Novocin, WorthPoint cannot be liable for misattribution under VARA. As

such, WorthPoint’s position has been conceded.

        Plaintiff also does not address the argument that VARA does not entitle plaintiff to

monetary damages for a violation of the right to attribution. Mass. Museum of Contemporary Art

Found., Inc. v. Buchel, 593 F.3d 38, 55 (1st Cir. 2010)(“VARA does not provide a damages

remedy for an attribution violation.”) See also, 3 Nimmer on Copyright, at § 8D.06[B][1] ("The

[VARA] statute does not make any provision to redress violation of any of the foregoing three

attribution rights."). Again, WorthPoint’s position has been conceded.

        Instead, bizarrely, Plaintiff argues that “Plaintiff is Not Entitled to Attorneys’ Fees Under

VARA.” See Opposition at 27. With that, WorthPoint agrees: first, as stated, no damages are

recoverable for an attribution violation (even if WorthPoint committed a violation, which it did

not); and second, Plaintiff is pro se, and she has no attorney’s fees to recover as she does not

have an attorney representing her.

        In fact, as set forth in WorthPoint’s opening motion papers, this Court previously

dismissed Plaintiff’s VARA claims against WorthPoint, allowing them to proceed against the

EAI Defendants only. See DE 40. Plaintiff’s reassertion of the-previously dismissed claims is

improper and the earlier dismissal should stand.

POINT VII. PLAINTIFF’S INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
CLAIM MUST BE DISMISSED
        WorthPoint has clearly pointed out that to the extent Plaintiff's claims for intentional

infliction of emotional distress arise from the alleged copyright infringement, these claims are


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preempted. See, e.g., Giddings v. Vision House Prod., Inc., No. CV 05-2963-PHX-MHM, 2007

U.S. Dist. LEXIS 58438, 2007 WL 2274800, at *2 (D. Ariz. Aug. 7, 2007) (finding emotional

distress claim preempted because the extreme and outrageous conduct plaintiff relied upon to

establish her claim was rooted in defendants' unauthorized reproduction and distribution of

plaintiff's work); Rainey v Wayne State Univ., 26 F. Supp. 2d 963, 969 (E.D. Mich. 1998) (finding

emotional distress claim preempted because "the extreme and outrageous conduct which plaintiff

relies upon to prove her claim is the unauthorized reproduction of her artwork," which "is exactly

what copyright law protects").

        To the extent that Plaintiff’s emotional distress claim is tied to the alleged conduct of

WorthPoint during this litigation, “[t]he mere commencement of litigation, even if alleged for the

purpose of harassment and intimidation, is insufficient to support a claim for intentional infliction

of emotional distress." HC2, Inc. v. Delaney, 510 F. Supp. 3d 86, 105 (S.D.N.Y. 2020). Here,

there is no evidence that WorthPoint did anything improper, and Plaintiff has failed to introduce

anything to the contrary. Even had she, this claim would still be dismissible.

        While WorthPoint rejected Plaintiff’s claim for intentional infliction of emotional distress,

it tried to conduct discovery on this claim, and sought information as to its basis. Plaintiff failed

to particularize her claim, failed to produce treating health care provider records or authorizations,

and failed to produce a report that would show a causal connection to any viable claim. Judge

Cave has already found that Plaintiff failed to participate in discovery on this issue. Plaintiff failed

to produce any medical reports or provide authorizations and, as such, an independent medical

evaluation could not be conducted. Judge Cave warned Plaintiff that she had not produced the

necessary information and Plaintiff still refused to produce such documentation. DE. 328, pp. 55-

57. As stated by Hon. Cave in her March 7, 2023 Opinion & Order, Plaintiff “had a fully reasonable


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opportunity” to produce any relevant information about her emotional distress damages and

refused to do so. DE 384, p. 9. Therefore, since Plaintiff has failed to produce evidence of her

emotional distress medical treatment in discovery, she should also be precluded from pursuing this

claim. See DE No. 384, p. 9.

        Plaintiff’s Opposition with respect to this claim does nothing more than repeat Plaintiff’s

allegations, which have already been addressed in WorthPoint’s opening motion papers. As such,

this claim should be dismissed.

POINT VIII. PLAINTIFF’S DMCA CLAIMS ARE TIME-BARRED AND FAIL AS A
MATTER OF LAW

        Plaintiffs fails to address WorthPoint’s argument that Plaintiff’s DMCA claims are subject

to a three-year statute of limitations and are untimely, for the same reasons as the Copyright and

VARA claims are untimely. The entirety of Plaintiff’s Opposition to this portion of WorthPoint’s

motion focuses solely on repeating Plaintiff’s allegations that her Biography was subject to

copyright and that WorthPoint’s statement “Copyrighted Work Licensed by WorthPoint”

(“Copyright License Notice”) on a photograph of a portion of the Painting that Plaintiff did not

create (Plaintiff did not create the Photograph either), and featuring a signature that is not her own,

is somehow conveying incorrect copyright information regarding Plaintiff’s Biography. However,

in its opening motion papers WorthPoint has already addressed that: (1) there is no claim that the

photograph of the Painting was created by Plaintiff; and (2) no CMI was affixed to a work in which

Plaintiff owns a copyright interest, i.e. the Biography. Furthermore, the Copyright License Notice

does not convey anything about the categories of information, such as “title,” “author,” or

“copyright owner,” that qualify as CMI under Section 1202(c). See 17 U.S.C. §1202(c). Likewise,

the Copyright License Notice fails the proximity requirement of Section 1202(c) because it simply

was not “conveyed in connection with” a work in which Plaintiff asserts a copyright interest.


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        WorthPoint also pointed out that the Copyright License Notice is not, in fact, false. It relates

to the licensing history of the text of the Auction Listing obtained from eBay; and represents that

the photograph displayed is a work to whom somebody else holds a copyright and that the use of

this image was licensed by WorthPoint. Both of these statements are true.

        Plaintiff utterly fails to address any of the arguments raised by WorthPoint as to

insufficiency of her DMCA claims. As such, WorthPoint respectfully refers the Court to its

opening motions papers and submits that DMCA claims should likewise be dismissed.

POINT IX - PLAINTIFF'S FRAUD CLAIM MUST BE DISMISSED

        In her Opposition, Plaintiff seemingly attempts to recast or conflate her fraud claim with a

“tangible conversion” claim, arising out of the alleged unauthorized use of her copyrighted

Biography. Aside from attempts to replead the SAC in an opposition for summary judgment being

impermissible as discussed above, federal copyright law preempts state-law claims arising out of

alleged copyright infringement. Capitol Records, Inc. v. Naxos of America, Inc., 372 F.3d 471,

477 n.2 (2d Cir. 2005) ("The 1976 Copyright Act ended common law copyright protection for all

works that are the subject of federal preemption.")

        To the extent that Plaintiff still maintains her fraud claim, the Opposition does nothing to

even address the critical deficiencies of this claim as plead in the SAC: Plaintiff does not allege

that Plaintiff herself justifiably relied on WP Listing or that WorthPoint’s post was made with an

intent to induce reliance by the Plaintiff (insofar as WorthPoint did not even know about the

automatically downloaded listing without any manual editing prior to the commencement of this

claim, no intent could be shown). Furthermore, the SAC does not satisfy the particularity

requirements as Plaintiff does not identify the statements WorthPoint made with knowledge of

their falsity prior to Plaintiff alerting WorthPoint of her claim, does not identify the speaker, or



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explain why the statements were fraudulent (i.e., what reliance did they seek to induce in the

Plaintiff). As such, Plaintiff’s claim does not even meet the pleading standards, let alone have any

support to avoid summary judgment.

POINT X - PLAINTIFF IS NOT ENTITLED TO A PERMANENT INJUNCTION


        In its opening papers, WorthPoint set forth that Plaintiff is not entitled to a permanent

injunction against WorthPoint, because Plaintiff cannot demonstrate the likelihood of success on

the merits and all of her claims must be dismissed. In Opposition, Plaintiff merely repeats her

allegations, alleging in a conclusory fashion that her injuries are irreparable. Plaintiff fails to

address that she sat on her hands for almost five years before bringing her claims against

WorthPoint. Considering that the WP Report was removed on February 4, 2016, over seven (7)

years ago, there is no likelihood that Plaintiff will suffer any harm if a permanent injunction is

not granted. After seven years, reporting on an eBay sale over 10 years ago, that issue is simply

moot.

        However, to the extent Plaintiff seeks to permanently ban Defendants from ever

mentioning her name again, as she has noted in passing, such will be an impermissible prior

restraint on free speech. Plaintiff furthermore fails to address WorthPoint’s discussion of the

balance of hardships, which clearly favors WorthPoint.

        To the extent that Plaintiff argues that “WorthPoint Corporation is a repeat infringer and

in need of deterrence,” citing Rosen v. Terapeak, 2015 U.S. Dist. LEXIS 183542 (U.S.D.C.

C.D.C. 2015), there was no finding in that case against WorthPoint, as it was dismissed from that

case for lack of personal jurisdiction. Rosen, 2015 U.S. Dist. LEXIS 183542, *3.

                                         CONCLUSION



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        Plaintiff failed to particularize and prove any claim against WorthPoint. To the extent that

any question would still be open (which WorthPoint claims are none), the Plaintiff’s claims are all

dismissible as a matter of law based on the statute of limitations and the other defenses as set forth

herein. For the foregoing reasons, there is no genuine triable issue of fact on any claim, and

WorthPoint is therefore entitled to summary judgment pursuant to Fed. R. Civ. P. 56(a), dismissing

Plaintiff’s Second Amended Complaint in its entirety, and for such other, further and different

relief this Court deems just and proper.


Date: June 28, 2023                            Respectfully submitted,

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